                 Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 1 of 9




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 7                        LINITED STATES DISTRICT COURT FOR THE
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                                           iTJSIro+lr*
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l0                                                         NO. CR20-195 RAJ
      LINITED STATES OF AMERICA,
11
                              Plaintiff,
                                                           INFORMATION
t2
13
                         v.
t4
      DAVID M. GLUTH,
15
                              Defendant.
t6
t7          The United States Attorney charges that:

l8                                           COUNT     1


t9                                         (Wire Fraud)
20   A.     The Scheme To Defraud
2t          l.      Beginning at a time unknown, but no later than November 2011, and

22   continuing until on or about June 29,2016, at Mukilteo, within the Western District of

23   Washington, and elsewhere, DAVID M. GLUTH and "J.H." devised and intended to

24   devise a scheme and artifice to defraud various victims, including but not limited to,

25   "'W'.F.," and financial institutions and lenders, and to obtain money and property by

26   means of materially false and fraudulent pretenses, representations and promises.

27          2.       DAVID M. GLUTH and W.F. were partners in "Gluth Contract Flooring,"
28   or "GCF," a commercial flooring business based in Mukitteo, Washington. J.H. was the
                                                                            UMTED STATES ATTORNEY
                                                                           7OO STEWART STRTET,   SUIE 5220
                                                                            SEATTLE, WASHINGTON 98 I O 1
      Information/GluTH - I                                                        (206) ss3-7970
                 Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 2 of 9




 I   bookkeeper for GCF. The essence of the scheme and artifice to defraud was for DAVID
 2   M. GLUTH and J.H. to improperly use GCF funds for their own personal benefit, to
 3   fraudulently obtain loans and credit for GCF without the knowledge or authorization of
 4   W.F., and to fraudulently alienate assets of GCF without the knowledge or authorization
 5   of W.F. DAVID M. GLUTH and J.H. engaged in numerous acts of deceit and
 6   concealment, including but not limited to: (a) making false and misleading statements
 7   and omissions to W.F. and others; (b) refusing to turn over business records that W.F.

 8   was entitled to review; (c) maintaining false and misleading business records; (d) making

 9   false and misleading statements and omissions in court filings and deposition testimony;
t0 and (e) using fraud, forgery, identity theft, and false statements to open bank accounts,
ll   obtain loans and credit, and alienate assets without the knowledge or authorization               of
t2 W.F. Over the course of the scheme, the total amount of improper personal expenditures,
13   assets that were   improperly disposed   of and unauthorized   indebtedness incurred by GCF,

t4 was approximately one million dollars or greater.
15   B.     Manner and Means
t6          3.      DAVID M. GLUTH and W.F. formed GCF by an operating agreement (the
t7 "Agreement") on or about May 10, 2007. The Agreement provided that DAVID M.
18   GLUTH and W.F. would be equal partners, and that DAVID M. GLUTH would run the
t9 day-to-day affairs of GCF. The Agreement provided that W.F. would personally
20   guarantee up to $500,000 in credit that would provide capital for the business.

2l          4.      The Agreement prohibited DAVID M. GLUTH from taking certain actions

22   without W.F.'s written approval, including but not limited to, opening bank accounts for
23   the company's use (other than accounts specified in the Agreement) and borrowing
24   money (apart from specified borrowing authorized by the Agreement). The Agreement
25   also prohibited DAVID M. GLUTH from engaging in significant business decisions,
26   including disposing of property outside the ordinary course of business, without
27   consulting with W.F. The Agreement also gave W.F. the right to inspect the books and
28   records of the company.
                                                                              UMTED STATES ATTORNEY
                                                                              7OO STEWART STREET, SUTTE   5220
                                                                               SEATTLE wAsHrNcroN 98 I 0'l
      Information/GluTH - 2                                                           (206) 5s3-7970
                 Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 3 of 9




 I          5.      In or about 2011, J.H. was hired   as the bookkeeper   for GCF.
 2          6.      It was part of the scheme and artifice to defraud that DAVID M. GLUTH
 3   and J.H. opened bank accounts in the name of GCF without W.F.'s knowledge or

 4   authoization. Per the Agreement, GCF maintained        a bank account at Foundation Bank.

 5   The Agreement required W.F.'s atthorization in order to open any additional bank
 6   accounts. DAVID M. GLUTH and J.H. opened bank accounts without W.F.'s
 7   knowledge or authoization, including but not limited to the following (collectively, the
 8   "secret accounts"):
 9                  a.        on or about September 11,2012, at Wells Fargo Bank;
l0                  b.        on or about December 27,2013, at Bank of America; and
11                  c.        on or about February 7,2014, at Whidbey Island Bank, also known
t2                            as Heritage Bank.

l3          7.      It was further part of the scheme and artifice to defraud that DAVID M.
t4 GLUTH and J.H. used the secret accounts to further the scheme in a variety of ways.
15   Among other things, DAVID M. GLUTH and J.H. diverted GCF funds to the secret
t6 accounts and used those funds to pay improper personal expenses. DAVID M. GLUTH
t7 and J.H. also used the secret accounts to receive funds from unauthorized loans, to make
l8   payments on unauthorized loans, and to transfer and conceal GCF funds. DAVID M.
t9 GLUTH and J.H. attempted to conceal the secret accounts from W.F. and others. By
20   using the secret accounts for such activities, DAVID M. GLUTH and J.H. were able to
2l   conceal their scheme from W.F. and others, and to thwart any meaningful inspection                   of
22   GCF's books and records. DAVID M. GLUTH and J.H. discussed the improper use and
23   concealment of the secret accounts in instant messages. For example, on or about
24   October 28,2013, in an instant message, DAVID M. GLUTH asked J.H. if Foundation
25   Bank might "discover" the existence of the Wells Fargo accounts. Similarly, on February
26   11,2014, in an instant message, J.H. told DAVID M. GLUTH that activity related to an
27   unauthorized loan would be concealed in "an already functioning wash account."
28
                                                                              UNITED STATES ATTORNEY
                                                                              7OO STEWART STREET, SUITE   5220
                                                                               SEATTLE, WASHINGToN 98I01
      Information/GluTH - 3                                                           (206) ss3-7970
                       Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 4 of 9




 I            8.          It was further part of the scheme and artifice to defraud that DAVID M.
 2   GLUTH and J.H. used GCF funds for unauthorizedpersonal expenses. DAVID M.
 a
 J   GLUTH and J.H. used GCF funds from             a   variety of sources, including but not limited to:
 4   GCF's American Express credit cards, GCF's Applied Bank credit card, GCF's
 5   Foundation Bank account, and GCF's Wells Fargo account. These unauthorized personal
 6   expenses included, but were not limited to: groceries, personal credit card bills, clothing,

 7   liquor, medical expenses, massages, travel expenses, personal taxes, and mortgage
 8   payments. The unauthorizedpersonal expenses began no later               than2}ll,      continued until
 9   October 2015 or later, and totaled several hundred thousand dollars.
t0            9.          It was further part of the scheme and artifice to defraud that DAVID M.
ll   GLUTH and J.H. concealed the unauthorizedpersonal expenses from W.F. and others in
t2   a   variety of ways, including but not limited to the following: using the secret bank
13   accounts to pay for unauthorized personal expenses, and making false and misleading
t4 entries in the books and records of GCF. DAVID M. GLUTH and J.H. also concealed,
15   and attempted to conceal, GCF's true financial condition from W.F. and others (including
t6 representatives of W.F.) who attempted to examine GCF's books and records to
t7 determine its condition.
l8            10.         It was further part of the scheme and artifice to defraud that DAVID M.
19   GLUTH and J.H. discussed with each other how to conceal the unauthorizedpersonal
20   expenses from W.F. and others. For example, in an instant message on or about February

2t   ll,2014 - after a discussion of how to conceal          an rurauthorized loan   - DAVID          M.
22   GLUTH told J.H. that "the next worry is [W.F.] digging into my Hawaii trip and
23   wherelhow I'm paying for          it." In an instant message   exchange on or about January 31,
24   2014, during a discussion of how to convey GCF funds to DAVID M. GLUTH for
25   personal use, J.H. stated,      "if I give you 2500 out of GCF it will look like your salary."
26            I   l.      It was further part of the scheme and artifice to defraud that DAVID M.
27   GLUTH and J.H. obtained (and attempted to obtain) loans and credit in the name of GCF,
28   and disposed of GCF assets, without W.F.'s knowledge or authorization. DAVID M.
                                                                                     UNITED STATES ATTORNEY
                                                                                     7OO STEWART STREET, StnTE   5220
                                                                                      SEATTLE, WASHINGToN 98I01
      Information/GluTH - 4                                                                  (206) ss3-7970
                Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 5 of 9




 I   GLUTH and J.H. made false and misleading statements and omissions in the course of
 2   these improper and fraudulent transactions. DAVID M. GLUTH and J.H. took these
 3   actions to conceal GCF's true financial condition from W.F. and others, and also to pay
 4   for unauthorized personal expenses. The unauthorized transactions included, but were
 5   not limited to: three loans from Main Street Business Loans ("MSBL"); a loan from
 6   Quarterspot; a loan from an individual, "L.M.;" and a sale of GCF receivables to BizFi
 7   Funding, a/k/a Quick Capital Funding, a/WaMerchant Cash         &    Capital LLC ("BizFi").
 8           12.    It was further part of the scheme and artifice to defraud that, on or about
 9   July 18,2013, DAVID M. GLUTH and J.H. submitted an application for               a short-term,

10   high-interest loan from MSBL. DAVID M. GLUTH signed the application and verified
l1 that he had legal authority to enter into the transaction on GCF's behalf. In truth and fact,
t2   as   DAVID M. GLUTH and J.H. knew, DAVID M. GLUTH did not have authority to
l3 enter into the transaction,   as W.F. had no knowledge    of the transaction and had not
t4 authorized it. DAVID M. GLUTH           and J.H. submitted a forged and altered Internal

t5 Revenue Service     K-l tax form as part of the application. The altered K-l        form showed
t6 that DAVID M. GLUTH was a 51% owner of GCF, when -                as   DAVID M. GLUTH and
t7 J.H. knew     - DAVID M. GLUTH and W.F. each owned 50%. DAVID M. GLUTH                               and

r8   J.H. submiued the altered   K-l   to mislead MSBL into believing that DAVID M. GLUTH
r9   had unilateral authority to enter into the transaction on GCF's behalf.
20           13.    It was further part of the scheme and artifice to defraud that the initial
2l MSBL       loan was funded on or about July 25,2013, in the amount of approximately
22   $120,955. DAVID M. GLUTH and J.H. obtained subsequent loans from MSBL                         in20l4
23   and20l5 based upon additional fraudulent loan applications.
24           14.    It was further part of the scheme and artifice to defraud that that DAVID M.
25   GLUTH and J.H. concealed the existence of the MSBL loans from W.F. and others. In
26   an instant message exchange on or about August 13,2013, J.H. told DAVID M. GLUTH
27   that she would put "it in income so [W.F.]   will not see it, only the two of us will know it
28   is there." In an instant message exchange on or about February 10,2014          - during a
                                                                               UMTED STATES ATTORNEY
                                                                               700 STEWART SrREEr, SurrE 5220
                                                                                SEATTLE, WASHTNCTON 98 I OI
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                Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 6 of 9




 I   discussion about applying for a second MSBL loan          - DAVID   M. GLUTH told J.H., "I'm
 2   doing it without [W.F.'s] knowledge,      if anything   goes wrong it won't be   good." In an
 a
 J   instant message exchange on or about March 27,2014, DAVID M. GLUTH told J.H.,                            "I
 4   can't let [W.F.] know this loan exists."
 5           15.    It was further part of the scheme and artifice to defraud that, on or about
 6   July 17, 2015, DAVID M. GLUTH entered into          a   written agreement with L.M. that was
 7   titled "Personal Loan Agreement." The Personal Loan Agreement provided that L.M.
 8   would loan $150,000 to DAVID M. GLUTH, who was identified as the "Borrower." The
 9   Personal Loan Agreement provided that the Borrower          - DAVID M. GLUTH -             was
10   responsible for repaying the loan on a set schedule. On or about February 1,2016,
n    DAVID M. GLUTH sent an e-mail to J.H. In the email, DAVID M. GLUTH asked J.H.
12   to fraudulently alter the Personal Loan Agreement by identiffing GCF, rather than
13   DAVID M. GLUTH,          as the   Borrower. DAVID M. GLUTH stated: "Otherwise I could
t4 be stuck with this." An altered Personal Loan Agreement was prepared that identified
15   GCF as the Borrower in the text (although DAVID M. GLUTH was still listed as the
t6 Borrower in the signature block). As DAVID M. GLUTH and J.H. knew, W.F.had no
t7 knowledge of and did not authorize, either the initial Personal Loan Agreement or the
l8 alteration that purported to make GCF responsible for the debt.
t9          16.     It was further part of the scheme and artifice to defraud that, in or about
20   December 2015, DAVID M. GLUTH and J.H. arranged for the sale of approximately
2l   $143,000 of GCF assets, in the form of receivables, to BizFi. BizFi paid GCF
22   approximately $100,000 for the assets. In connection with this sale, DAVID M. GLUTH
23   signed a Merchant Agreement with BizFi in which DAVID M. GLUTH falsely certified
24   that he had authority to enter into the transaction. As DAVID M. GLUTH and J.H.
25   knew, W.F. had no knowledge of this transaction and did not authorize it.
26          17.     It was further part of the scheme and artifice to defraud that, in or about
27   October of 2015, DAVID M. GLUTH and J.H. arranged for GCF to borrow money from
28   Quarterspot. As DAVID M. GLUTH and J.H. knew, W.F. had no knowledge of this
                                                                               UNITED STATES ATTORNEY
                                                                               7OO STEWART STREET, SUITE   5220
      Information/GluTH - 6                                                     SEATTLE, WASHINGToN 98I O1
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                Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 7 of 9




 I   transaction and did not authorizeit. On or about October 28,2015, DAVID M. GLUTH
 2   and J.H. submitted a false and fraudulent "Borrower Agreement" to Quarterspot, which
 3   included forged signatures for W.F. DAVID M. GLUTH and J.H. also submitted a
 4   forged driver's license in the name of W.F. The forged driver's license showed a
 5   photograph of "J.O.", a GCF employee.
 6           18.     It was further part of the scheme and artifice to defraud that, on or about
 7   October 28,2015, DAVID M. GLUTH and J.H. discussed the.fraudulent Quarterspot
 8   loan application and the forged driver's license over instant messaging. The exchange
 9   was triggered by J.O.'s objection to the use of the forged driver's license. J.O. messaged
l0 J.H. and asked     her "to not use my ID for anything, and never ask me to do that again."
11   J.H. responded, "ok      - and ok, sorr1z." DAVID   M. GLUTH then instructed J.H. to "tell
t2 [J.o.] you canceled the deal." J.H. responded "ok." DAVID M. GLUTH then told J.H.,
l3 "you don't need to cancel the deal," and "it would be nice not to have [W.F.] involved."
t4 DAVID M. GLUTH later told J.H., "I told him [W.F.] it was canceled though, that's our
l5 story." On or about October 28,2015, DAVID M. GLUTH and J.H. submiued
t6 fraudulent loan documents with W.F.'s forged signature.
l7           19.     It was further part of the scheme and artifice to defraud that DAVID M.
18   GLUTH and J.H. made false and misleading statements and omissions in connection with
t9 a legal action instituted by W.F. in King County Superior Court. W.F. filed the action on
20   or about December 21,2015, alleged that DAVID M. GLUTH had improperly used GCF
2t funds for personal purposes       and had mismanaged GCF. The false and misleading

22   statements by   DAVID M. GLUTH        and J.H. included, but were not limited to: a January
23   16,2015, declaration by DAVID M. GLUTH in which he falsely stated that he did not
24   authorize the submission of falsified documents to QuarterSpot; aMay 19,2016,
25   declaration by J.H. in which she falsely stated that she had not concealed transactions in
26   GCF's records; and a March 23,2016, deposition given by J.H. in which she denied
27   knowledge of the forgery and fraud associated with the Quarterspot loan.
28
                                                                              UMTED STATES ATTORNEY
                                                                             7OO STEWART STREET, SUITE   5220
      Information/GluTH - 7                                                    SEATTLE, WAsHrNcroN 98 I 0 I
                                                                                     (206) 553-7970
                 Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 8 of 9




 I   C.     Execution Of The Scheme To Defraud
 2          20.     On or about July 11,2015, at Everett, within the Western District           of
 a
 J   Washington, and elsewhere, having devised the above-described scheme and artifice,
 4   DAVID M. GLUTH and J.H., for the purpose of executing this scheme and artifice, did
 5   knowingly cause to be transmitted by wire communication, in interstate and foreign
 6   commerce, writings, signs, signals, pictures, and sounds, to wit: an electronic
 7   transmission from a Safeway store in Everett, Washington, to American Express in
 8   Phoenix, Arizona, resulting from a $90.68 credit card purchase.
 9          All in violation of Title   18, United States Code, Sections 1343 and2.

t0
ll                                ASSET FORFEITURE ALLEGATION
t2          The allegations contained in Count 1 of this Information are hereby realleged and
13   incorporated by reference for the purpose of alleging forfeiture. Upon conviction for the
t4 offense alleged in Count l, the Defendant DAVID M. GLUTH shall forfeit to the United
15   States, pursuant to   Title 18, United States Code, Section 981(aX1XC), by way of Title28,
t6 United   States Code, Section 2461(c), all properfy constituting or traceable to proceeds                  of
t7 the offense, including but not limited to a sum of money reflecting the proceeds he
t8 obtained from the offense.
t9          Substitute Assets. If any of the above-described forfeitable property, as a result                of
20   any act or omission of the Defendant,
2t          1.      cannot be located upon the exercise of due diligence;
22          2.      has been transferred or sold to, or deposited with a third party;

23          3.      has been placed beyond the jurisdiction of the Court;

24          4.      has been substantially diminished in value; or,

25          5.      has been commingled with other property which cannot be divided without
26                  difficulty;
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                                                                              UMTED STATES ATTORNEY
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               Case 2:20-cr-00195-RAJ Document 3 Filed 11/17/20 Page 9 of 9




 I   it is the intent of the United States to seek the forfeiture of any other property of the
 2   Defendant up to the value of the above-described forfeitable property pursuant to Title
 3   21, United States Code, Section 853(p).
 4
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 5          DATED     this v1'     aay of   November,2}2}
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                                                        ANDREW FRIEDMAN
                                                        Assistant United States Attorney
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                                                                              UNITED STATES ATTORNEY
                                                                              700 STEWART   STREET   , SurrE 5220
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